
I concur in the result reached. I am of the opinion that this case is controlled by the law as set out in Ex parteGipson, 375 So.2d 514 (Ala. 1979), but in view of the fact that Gipson was a plurality decision, and in view of the fact that the fashioning of a rule governing the non-statutory grant of immunity that would be applicable toall cases and under differing factual settings is probably not a judicial prerogative and probably should not be done in a judicial decision, I suggest that Mr. Justice Beatty, in his special concurrence in Gipson, may have stated the law most correctly when he opined that "the matter of immunity from State prosecution lies with the legislature." Of course, if the legislature, by inaction, fails to enact a law which would establish the public policy of this state, then the courts necessarily would have to fashion the rule.